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5       and Foreign Representative,
        Stanley DeFreitas, DeFreitas & Associates
6

7

8                               UNITED STATES BANKRUPTCY COURT
9                               NORTHERN DISTRICT OF CALIFORNIA
10                                   SAN FRANCISCO DIVISION
11       In re:                                     Case No. 21-30101 DM 15

12       M.A. MOBILE LTD.,                          Chapter 15 – Foreign Main Proceeding

13                    Debtor.                       Date:    February 17, 2021
                                                    Time:    11:30 AM (Pacific Time)
14                                                  Hearing via AT&T Conference Call
                                                    (See Judge Montali’s Order for Instructions)
15

16

17

18                STATEMENT OF POSITION OF FOREIGN REPRESENTATIVE,
                      STANLEY DEFREITAS, DEFREITAS & ASSOCIATES,
19                IN SUPPORT OF CHAPTER 15 PETITION FOR RECOGNITION
                   OF A FOREIGN PROCEEDING AND REQUEST FOR RELIEF
20

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27

28      STATEMENT OF POSITION OF FOREIGN REPRESENTATIVE, STANLEY DEFREITAS,
        DEFREITAS & ASSOCIATES, IN SUPPORT OF CHAPTER 15 PETITION FOR
        RECOGNITION OF A FOREIGN PROCEEDING & REQUEST FOR RELIEF–No. 21-30101 DM 15
     Case: 21-30101    Doc# 14    Filed: 02/16/21    Entered: 02/16/21 17:09:28    Page 1 of 5
Case: 21-30101   Doc# 14   Filed: 02/16/21   Entered: 02/16/21 17:09:28   Page 2 of 5
Case: 21-30101   Doc# 14   Filed: 02/16/21   Entered: 02/16/21 17:09:28   Page 3 of 5
Case: 21-30101   Doc# 14   Filed: 02/16/21   Entered: 02/16/21 17:09:28   Page 4 of 5
1                                    PROOF OF ELECTRONIC SERVICE
2          1. I am over the age of 18 and not a party to this cause. I am a resident of or employed in
              the county where the mailing occurred.
3
           2. My residence or business address and my electronic service address is (specify):
4
                   Law Office of David M. Hellman
5                  851 Irwin Street, Suite 205
                   San Rafael, CA 94901
6
           3. I electronically served the following document:
7
                Statement of Position of Foreign Representative,
8               Stanley DeFreitas, DeFreitas & Associates, in Support of
                Chapter 15 Petition for Recognition of a Foreign Proceeding and Request for Relief
9
           4. I electronically served the document listed in No. 3 as follows:
10
                   a. Name of person served:          b. Electronic service address of person served:
11
                       Indra Neel Chatterjee, Esq.           NChatterjee@goodwinlaw.com
12                                                           JMcKenzie@goodwinlaw.com,
                                                             JValdes@goodwinlaw.com
13                     Michael T. Jones, Esq.                MJones@goodwinlaw.com
                       Elizabeth J. Low, Attorney at Law     ELow@goodwinlaw.com
14                                                           JValdes@goodwinlaw.com
                       Brendan E. Radke                      BRadke@goodwinlaw.com
15                     James Elliott Thompson                jthompson@orrick.com
                       Theresa Ann Sutton                    jakandjon@yahoo.com
16                     William F. Alderman                   walderman@orrick.com
                       William M. Balin                      wmbalin@yahoo.com
17
                   c. On                                     , 2021
18
               I declare under penalty of perjury under the laws of the State of California that the
19      foregoing is true and correct.
20      Date:                                , 2021
21

22              (TYPE OR PRINT NAME)                           (SIGNATURE OF DECLARANT)
23

24

25

26
27

28      STATEMENT OF POSITION OF FOREIGN REPRESENTATIVE, STANLEY DEFREITAS,
        DEFREITAS & ASSOCIATES, IN SUPPORT OF CHAPTER 15 PETITION FOR
        RECOGNITION OF A FOREIGN PROCEEDING & REQUEST FOR RELIEF–No. 21-30101 DM 15
     Case: 21-30101     Doc# 14    Filed: 02/16/21      Entered: 02/16/21 17:09:28      Page 5 of 5
